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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:                                                                    Chapter 11

ALBERT M. LEFKOVITS,                                                      Case No.: 17-12845-SMB

                                    Debtor.
---------------------------------------------------------X

STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF NASSAU                   )

        Robert G. Levin, being duly sworn, deposes and says:

        1.       I am a Vice President of Signature Bank, charged with overseeing its Special

Assets loan portfolio. I have been associated with Signature Bank for three (3) years. The

matters set forth herein are based on my personal knowledge gained from my involvement with

the Loans1 at issue on Signature’s Motion, and from my review of documents and information

maintained by Signature in the ordinary course of its business.

A.      The First Loan

        2.       On or about November 28, 2007, Signature loaned the principal amount of

$1,500,000 to Borrower in connection with the First Loan. To memorialize that loan, the Debtor

signed the 2007 Note on behalf of the Borrower reflecting the terms and conditions of that loan.

A copy of the 2007 Note is attached hereto as Exhibit A.

        3.       The Debtor executed an unconditional and irrevocable personal guaranty with

respect to the Borrower’s obligations under the 2007 Note. A copy of the Guaranty is attached

hereto as Exhibit B.



1
 Capitalized terms not otherwise defined herein have the meanings given to them in Signature Motion for relief
from the automatic stay, for which this Affidavit is offered in support.
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       4.      To collateralize the 2007 Note, Debtor granted Signature a security interest and

lien in the two cooperative apartments that Borrower used as medical offices - the Properties -

and the shares in the cooperative corporation that were appurtenant to the Apartments.

       5.      To effectuate the grant of those security interests, the Debtor signed Security

Agreements, dated November 28, 2007, for each of the Apartments. Copies of those Security

Agreements are attached as Exhibits C and D. Both Security Agreements explicitly provided

that the Debtor would be in default if, among other things: (a) any payment due under the 2007

Note was not made on time; and (b) any payment required under the Proprietary Leases for the

apartments was not made on time, such as, for example, maintenance. Further, if the Debtor

failed to pay “all unpaid amounts” under the 2007 Note within 30 days after written demand,

Signature is explicitly permitted to sell the Apartments at a public or private sale.

       6.      Debtor’s personal Guaranty, too, was collateralized. See Exhibit B, ¶ 13. The

scope of the security interest and lien granted to Signature in connection with the Guaranty

included all interests and liens granted pursuant to the Security Agreements noted above. See id.

The security and lien interests granted to Signature pursuant to the Guaranty were also

collateralized and extended to future advances made to Debtor by Signature. See id.

B.     The Second Loan

       7.      In October 2011, Signature made the Second Loan to Borrower in the original

principal amount of $650,000.00. The Borrower executed and delivered to Signature the 2011

Note in connection with that loan. A copy of the 2011 Note is attached hereto as Exhibit E.

Much like the 2007 Note, pursuant to the 2011 Note, upon a default the Bank could choose to

accelerate the entire indebtedness.




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        8.        In connection with the 2011 Note, the Debtor executed an unconditional and

irrevocable personal guaranty. A copy of this Guaranty is attached hereto as Exhibit F. As was

the case with his prior Guaranty, the 2011 Guaranty provided for the grant of security interests in

the Properties and was cross-collateralized with the 2007 Note and 2007 Security Agreements.

See Exhibit F, ¶ 13.2

C.      Defaults and Efforts to Delay Disposition of Collateral

        9.       Borrower’s Loans with Signature can fairly be characterized as having been

problematic or in distress for a number of years. Although consensual resolution has proven

elusive, Signature has expended substantial time and effort working with Borrower and the

Debtor in an effort to address payment.

        10.      In November 2015, Signature issued a Notice of Events of Default and

Reservation of Rights letter, a copy of which is attached hereto as Exhibit G.

        11.      A negotiated resolution was achieved for terms on which Borrower and Debtor

would provide a partial “catch-up” payment.

        12.      Neither Borrower nor Debtor made the payment that had been agreed upon.

        13.      At or about this same point in time, Signature received notice that neither

Borrower nor Debtor had been timely paying the maintenance due on the Properties.

        14.      As a result of the Borrower’s defaults under the Loans, Signature accelerated the

debt. An acceleration letter dated January 6, 2016, was sent, and thereafter Signature sent to

Borrower and Debtor amended notices of default and acceleration dated January 22, 2016 and

February 12, 2016, copies of which are attached hereto as Exhibits H, I and J.



2
 My understanding is that separate Security Agreements were executed in connection with the 2011 Note, but could
not be located.

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       15.     During this period of time, during 2016, Signature had to pay the maintenance

fees (relating to the Properties) owed by the Debtor and his related business for six (6) months.

       16.     An Article 9 sale was scheduled with respect to the Properties for August 2, 2016.

       17.     On August 1, 2016, Borrower and Debtor commenced the State Court Action

against Signature in the State Court. The Complaint, in sum and substance, alleged breach of

contract and sought an injunction (preliminary injunctive relief was sought by way of Order to

Show Cause). A temporary restraining order was issued enjoining the Article 9 sale.

       18.     On August 18, 2016, Signature entered into a Stipulation and Order with Debtor

and Borrower pursuant to which Debtor and Borrower were granted a preliminary injunction

stopping Signature’s efforts to conduct an Article 9 sale, but injunctive relief was:

               Conditioned upon [Debtor and Borrower] posting, on or before
               September 19, 2016, an undertaking in the amount due for
               principal and interest under the Note, dated November 28, 2007,
               together with the amount of maintenance paid by [Signature] on
               [Borrower’s and Debtor’s] behalf[.]

A copy of the Stipulation and Order is attached hereto as Exhibit K.

       19.     The undertaking was not posted.

       20.     Borrower and/or Debtor made a few monthly maintenance payments for the

Properties after being granted relief by the State Court (in August 2016), but that stopped in

January 2017. Thereafter, Signature made seven (7) more maintenance payments.

       21.     On June 15, 2017, the State Court entered another order in the State Court Action,

a copy of which is attached hereto as Exhibit L. This new order addressed the preliminary

injunction, and provided that in order to keep injunctive relief in place, Borrower and Debtor

were required, within thirteen (13) days of entry of the order, to post an undertaking equal to the




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amount of principal and interest owed to Signature on the First Loan, along with maintenance

that had been paid by Signature relating to the Properties.

       22.     The undertaking was not posted.

       23.     Signature scheduled an Article 9 sale of the Properties for the morning of October

12, 2017.

       24.     At 5:08 p.m. on October 11th, just a matter of hours before the Article 9 sale was

scheduled to take place, the Debtor-guarantor commenced these voluntary chapter 11

proceedings.

D.     The Properties and the Debt Owed to Signature

       25.     The Properties consist of two cooperative apartments located at 1040 Park

Avenue, New York, NY 10028, Apartments 1B and 1C and the shares appurtenant to those

apartments.

       26.     The collateral security and lien interests granted to Signature extend to the

Properties. See Exhibit B, ¶ 13 (2007 Guaranty); Exhibit C, p. 1 (Security Agreement, Apt. 1B);

Exhibit D, p. 1 (Security Agreement, Apt. 10); Exhibit F, ¶ 13 (2011 Guaranty).

       27.     The Properties have a value of $2,800,000. Attached hereto as Exhibit M is an

appraisal of the Properties.

       28.     The first priority lien debt owed to Signature is no less than $1,630,789.56 on the

2007 Note.

       29.     The second priority lien debt owed to Signature is no less than $127,554.62 on the

2011 Note.

       30.     The debt amounts indicated herein are approximations, and do not include all

amounts properly owed under the Loan Documents and otherwise. Although the amounts


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indicated herein are approximations, the amount owed to Signature is not less than what is

indicated herein.

        31.     The debt evidenced by the 2007 Note and the 2011 Note was funded, and the

collateral and security interests and liens granted to Signature “attached” to the collateral.

        32.     Signature’s collateral and lien interests in the Properties were properly perfected.

Attached hereto as Exhibit N are a Stock Power Agreement, Assignment of Lease, and UCC

Filings relating to Apartment 1B (2007); as Exhibit O are a Stock Power, Assignment of Lease

and UCC Filings relating to Apartment 1C (2007); as Exhibit P are UCC Filings relating to

Apartment 1B (2011); and as Exhibit Q are UCC Filings relating to Apartment 1C (2011).

E.      Tax Lien and Judgment Debt

        33.     Debtor owes no less than $2,229,779.54 in federal tax debt.             See tax lien

documents attached at Exhibit R.

        34.     Debtor owes not less than $1,063,861.60 in tax debt to the New York Department

of Taxation and Finance (my understanding is that this amount has been confirmed through a

title and lien search).

        35.     Upon information and belief, Debtor’s medical practice owes $1,910,905.22 in

federal tax liens and $736,062.78 to the New York State Department of Taxation and Finance.

F.      Debtor’s Efforts to Create the Appearance of a Dispute that is not Relevant

        36.     In the State Court Action and in discussions and correspondence with Signature,

the Debtor and his related Borrower entity have contended that payments made under the Loans

have been misapplied to one loan as compared with the other.

        37.     Signature disputes Debtor’s and Borrower’s contentions.




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       38.      The reality of the matter is that the contentions made by Debtor and Borrower are

not relevant.

       39.      It is beyond dispute that Borrower and Debtor have not paid what is owed under

the Loans.

       40.      It is beyond dispute that demand has been made that Guarantor pay what is owed.

       41.      It is beyond dispute that Borrower and Debtor have not paid all monthly

maintenance owed for the Properties, and that Signature has been required to pay substantial

amounts (in excess of $118,000) to “cover” those payments.

       42.      It is beyond dispute that Borrower and Debtor have not maintained insurance for

the Properties, and that Signature has been required to force-place insurance.

       43.      It is beyond dispute that the “undertaking” that was required by the State Court as

a condition for granting injunctive relief – an agreed upon and negotiated term of the stipulation

that was so-ordered by the State Court – was not posted (after either of the orders were entered

by the State Court).

       44.      It is beyond dispute that, shortly after the stay put in place through the State Court

Action expired, and another Article 9 sale was scheduled, Debtor commenced these chapter 11

proceedings.




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G.        Conclusion

          For the reasons set forth in the Motion, Signature Bank respectfully requests that this

Court grant relief from the automatic stay to permit Signature Bank to conduct the now-twice-

already-scheduled Article 9 sale of the Properties.

Dated: Uniondale, New York
       November 1, 2017                       __/s/ Robert G. Levin__________
                                              Robert G. Levin
                                              Vice President, Special Assets
                                              Signature Bank
1676211




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